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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ORLANDO A. ACOSTA, et al.,
                      Plaintiffs,

                         v.
                                                                     2:17-CV-1462
 DEMOCRATIC CITY COMMITTEE, et al.,
                   Defendants.
 ___________________________________
 LUCINDA LITTLE, et al.,
                              Plaintiffs,

                         v.
                                                                     2:17-CV-1562
 EMILIO VASQUEZ, et al.,
                              Defendants.


                                            ORDER

       AND NOW, this                 day of                               ,     2017,      upon

consideration of the Supplemental Brief of Defendants Acting Secretary of the Commonwealth

Robert Torres and the Department of State, Bureau of Commissions, Elections and Legislation in

Support of the Motion to Dismiss, and other filings in this matter, it is hereby ORDERED that the

motion to dismiss is GRANTED.

                                                    BY THE COURT:




                                                    JOEL H. SLOMSKY, J.
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


    ORLANDO A. ACOSTA, et al.,
                         Plaintiffs,

                             v.
                                                                          2:17-CV-1462
    DEMOCRATIC CITY COMMITTEE, et al.,
                      Defendants.
    ___________________________________
    LUCINDA LITTLE, et al.,
                                  Plaintiffs,

                             v.
                                                                          2:17-CV-1562
    EMILIO VASQUEZ, et al.,
                                  Defendants.


     SUPPLMENTAL BRIEF OF ACTING SECRETARY ROBERT TORRES AND THE
        DEPARTMENT OF STATE IN SUPPORT OF THE MOTION TO DISMISS

           Defendants Robert Torres, Acting Secretary of the Commonwealth, 1 and the Department

of State, Bureau of Commissions, Elections and Legislation (“Secretary”), hereby submit this

Supplemental Brief in Support of the Motions to Dismiss (Acosta ECF No. 32 and Little ECF No.

11) pursuant to the Court’s direction at oral argument on September 14, 2017, and as confirmed in

the Court’s order of October 26, 2017 (ECF No. 62).

      I.      The Marks decision does nothing to change the pleading standards of Twombly
              and Iqbal.

           Plaintiffs have identified in Marks v. Stinson, 19 F.2d 873 (3d Cir. 1994), a prior case in

this circuit in which a federal court intervened in an election dispute. Yet the existence of Marks



1
 Robert Torres was designated to serve as Acting Secretary of the Commonwealth on October 11,
2017. As Former Secretary Cortés’s successor, Acting Secretary Torres is automatically
substituted as a party pursuant to Fed. R. Civ. P. 25(d).
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still leaves in place the Twombly-Iqbal pleading standards—standards which the Plaintiffs’

complaints fail to meet.

         Plaintiffs’ complaints fall short of the standards for pleading established in the Federal

Rules of Civil Procedure, and are thus subject to dismissal for failure to state a claim. Pursuant to

the U.S. Supreme Court’s rulings in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and

Ashcroft v. Iqbal, 556 U.S. 662 (2009), the Court is to “begin by taking note of the elements a

plaintiff must plead to state a claim.” Iqbal, 556 U.S. at 675. The Court then identifies the

conclusory statements “not entitled to the assumption of truth,” but assumes the veracity of well-

pleaded factual allegations in the complaint, determining “whether they plausibly give rise to an

entitlement to relief.” Connelly v. Lane Const. Corp., 809 F.3d 780, 787 (3d Cir. 2016) (citing

Iqbal, 556 U.S. at 697).

         When subjected to the rigor required under this precedent, Plaintiffs’ claims as to the

Secretary fall apart.

         Liability under 42 U.S.C. § 1983 does not attach on a respondeat superior 2 theory—at least

not absent the type of “deliberate indifference,” “policies” or “customs” of a governmental entity



2
    Where none is “superior,” none should be held liable to “respond.”

As noted by the Secretary, under Pennsylvania law, neither the Secretary of the Commonwealth
nor the Department of State occupies a “superior” position to (1) the county board of elections
and/or (2) the district election officials. Rather, the district election officials are independently-
elected constitutional officers. Br. of Sec’y Cortés and Dep’t of State, Bureau of Commissions,
Elections and Legislation in Supp. of Mot. to Dismiss Pls.’ Second Am. Compl. at 10-14, Acosta
v. Democratic City Comm., No. 17-1462 (E.D. Pa. June 19, 2017) (ECF No. 32); Br. of Sec’y
Cortés and Dep’t of State, Bureau of Commissions, Elections and Legislation in Supp. of Mot. to
Dismiss Pls.’ Am. Compl. at 11-4, Little v. Acosta, No. 17-1562 (E.D. Pa. June 19, 2017) (ECF
No. 11).

The Secretary and Department likewise lack power to direct and control the county boards of
election.


                                                  2
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which might give rise to liability. Monell v. Dep’t of Soc. Servs. of City of N.Y., 436 U.S. 658, 692

(1978); Bd. of Cnty. Comm’rs of Bryan Cnty., Okla. v. Brown, 520 U.S. 397, 403 (1997).

            The Little complaint refers to the Secretary in paragraphs 10, 11, 17, 18, 24, 24(g), 28, 31,

and 32. Am. Compl., Little v. Vazquez, No. 17-1562 (E.D. Pa. Apr. 7, 2017) (ECF No. 2)

[hereinafter Little Compl.]. Apart from paragraphs 10 and 11 (identifying the parties, every

reference to what the Secretary did or did not do is in the context of a conclusory statement. The

Acosta complaint makes virtually-identical allegations in paragraphs 5, 6, 9, 10, 16, 17, 23, 24—

again, wholly conclusory (with the partial exceptions of paragraphs 5 and 6 which identify the

parties). Second Am. Compl., Acosta v. Democratic City Comm., No. 17-1462 (E.D. Pa. Apr. 10,

2017) (ECF No. 11) [hereinafter Acosta Compl.].

            Having failed to plead any non-conclusory allegations, Plaintiffs’ claims do not “plausibly

give rise to an entitlement to relief.” Connelly, 809 F.3d at 787.

      II.      The present scenario is not comparable to Marks.

            Plaintiffs lean on Marks and conclude that federal court intervention is warranted in this

case. Yet a review of the facts of that case shows that it is simply not comparable to the facts

alleged here.

            In Marks, officials with the county board of elections were the ringleaders in a conspiracy

to violate election laws. 3 County officials directed their subordinates to provide absentee ballots

in a way that clearly favored one candidate over the other.



3
    The relevant factual history of the case is set forth in the Third Circuit’s opinion:

            Commissioners Tartaglione and Talmadge and Board employees working with
            them were aware of the absentee ballot campaign of Stinson and his workers and
            assisted that campaign by delivering hundreds of absentee ballot packages directly
            to Stinson workers rather than mailing or delivering them to the electors whose
            names and addresses appeared on the applications. This assistance was designed to
                                                     3
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       Significantly, in Marks, the Secretary was not named as a defendant. The absentee ballot

scheme was conceived and executed without involving the Secretary. Plaintiffs in that case

apparently determined that the Secretary’s presence as a defendant was unnecessary—and given

the lack of involvement in the irregularities in that case, inappropriate. And in that case, Plaintiffs

were able to obtain relief without naming the Secretary. Marks, 19 F.3d at 889-90 (affirming the

effective ouster of defendant Stinson by the district court).

       In this case, Plaintiffs do not allege that state or county officials were directing or engaged

in any misconduct. Rather, the most that Plaintiffs allege is that the Secretary and county officials

“failed to properly supervise the election.” Acosta Compl. ¶ 17, see also Little Compl. ¶ 24 (“failed

to properly supervise the special election”). Among the other factors, the lack of any alleged role

of the Secretary in the misconduct alleged by Plaintiffs places the present dispute, as pled in the

Plaintiffs’ complaints, squarely among the type of disputes which do not implicate federal rights, 4

and which do not merit the intervention of the federal judiciary.


       aid the Stinson campaign in obtaining more votes through personal contact between
       the electors and the Stinson campaign workers. No such assistance was provided to
       Marks or the Marks campaign. During regular office hours, employees of the Board
       mailed all absentee ballot packages to the voters whose applications they had
       approved. The Board’s assistance to the Stinson campaign was covert and was not
       disclosed to Republican Commissioner Kane at the time.

Marks v. Stinson, 19 F.3d 873, 877–78 (3d Cir. 1994).
4
  In numerous places, Plaintiffs assert that various provisions of the Pennsylvania Election Code
were violated, and invite the Court to conclude, on that basis, that their rights under federal law
were likewise violated. As discussed more thoroughly in Part III.A of the Secretary’s Brief, state
statutes do not create nor establish the scope or extent of rights under federal law. Sec’y Br. at 8-
14 (Little ECF No. 11). Even assuming Plaintiffs could prove that a provision of the Election Code
was violated, that would not, ipso facto, prove violations of federal rights. See Part II, Reply Brief
of Secretary Cortés and Department of State, Bureau of Commissions, Elections and Legislation
in Support of Motion to Dismiss Plaintiffs’ Amended Complaint at 2-3, Little v. Vazquez, No. 17-
1562 (E.D. Pa. July 26, 2017) (ECF No. 29) (“Because ‘a state statute cannot, in and of itself,
create a constitutional right,’ Brown v. Grabowski, 922 F.2d 1097, 1113 (3d Cir. 1990), an act that
violates a state statute, likewise, does not necessarily violate the constitution.”).
                                                  4
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    III.        Plaintiffs have named the wrong parties in their lawsuits.

           A.      The Secretary and other named defendants are not liable for failure to
                   “supervise” district election officials.

           The Little plaintiffs, in their most recent filing, list a number of their grievances about

misconduct in and around the polling places, and then in seeming culmination of this litany, they

assert that “[t]he Defendants did nothing to prevent or stop this misconduct.” Supp. Br. of Pls.,

Cheri Honkala, Green Party of Phila., Republican City Comm. of Phila. and Lucinda Little, in

Opp’n to the Mots. to Dismiss of Defs. at 6, Little v. Vazquez, No. 17-1562 (E.D. Pa. Nov. 8, 2017)

(ECF No. 34) [hereinafter Honkala Supp. Br.]. None of the actual alleged bad actors is named as

a defendant—that is, the judges of election and other district election officials at each polling place.

(The Acosta Plaintiffs come closest by naming some of the ward leaders, who may have been on

the ground near the polling places of the 197th Legislative District, but even they fail to allege in

sufficient detail the malfeasance or nonfeasance giving rise to the Complaint. 5) See also infra,

Part III.B.




5
  Counsel for the Ward Leaders aptly summarized the Acosta Plaintiffs’ allegations against his
clients at the hearing held in this matter:

           With the three of the ward leader defendants . . . they’re just listed in the caption of
           the complaint. They’re not even identified as parties in the body of the complaint.
           There is no allegation made against them at all.

           With respect to two of the ward leaders . . . the only allegation is that they were
           “seen inside polling places” without making any further allegations, let alone
           allegations of any type of misconduct. And the sixth ward leader . . . is alleged also
           to have been seen inside polling places without making any allegations of
           misconduct while inside the polling places, and is also alleged generally to have
           tried to influence voters to vote for Va[z]quez, but fails to allege any faction on
           why that would be improper.

Transcript of oral argument at 45-46, Acosta v. Democratic City Comm., No. 17-1462 (E.D. Pa.
Sept. 14, 2017) (ECF No. 61) [hereinafter Acosta Transcript].
                                                      5
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        Plaintiffs rely on the broad assertion that the Secretary (and the other defendants) had some

duty to ensure the fairness of the election. Yet under the Pennsylvania Constitution and the

Pennsylvania Election Code, the district election officials have sweeping autonomy; the Secretary

is not vested with authority to “supervise” the district election officials (nor to “supervise” the

county boards of elections). See generally Part III.A, Sec’y Br. at 11-12 (Little ECF No. 11) (“The

Pennsylvania Constitution provides no mechanism for these constitutional officers to be

summarily ousted or directed by state or county officials . . . . [C]ounty and state officials have no

power, much less a duty, to ‘supervise’ district election officials in the exercise of their duties.”).

        B.      The appropriate defendants in this action are the district election officials.

        While the civil rights action codified at 42 U.S.C. § 1983 and the Fourteenth Amendment

both implicate state action—acting under the color of state law—that is not to say that a state

official (such as the Secretary) is a required party in any § 1983 case; rather, such a lawsuit could

be wholly effective naming local officials only, provided only that they exercise some function

under color of state law. 6 See supra Part II (Marks plaintiffs obtained relief without naming

Secretary). 7




6
  As an analogy, consider the application of § 1983 in a different context: a citizen’s complaint for
a Fourth Amendment violation at a traffic stop when pulled over by a local police officer. The
proper defendants would be the individual officer, and perhaps his or her employing agency.
Absent some indication that the state police were involved in the incident, it would be aberrant and
inappropriate for the state police to be named as defendants (either the state police commissioner,
or the state police as an agency). With election administrators, as with police officers, the
requirement for “state action” means only that some person acts under color of state law. It does
not require state-official defendants, nor does it transform the § 1983 liability of one into the
liability of all who have some related responsibilities.
7
 At the hearing, and again in their Supplemental Brief, the Little Plaintiffs contended that political
parties and committees are transformed into state actors as a result of filing their bylaws with the
Secretary and county board of elections. Acosta Transcript at 60-67 (ECF No. 61); Honkala Supp.
Br. at 6-10 (Little ECF No. 34) (citing 25 P.S. § 2837). In support of these claims, the Little
                                                   6
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        Plaintiffs could have named as defendants the district election officials for each polling

place where they allege there were irregularities. In addition to naming them as John Doe

defendants, many of them are listed on the Philadelphia City Commissioners’ website. Current

Election        Bd.    Officials,     Office         of   the      Phila.      City      Comm’rs,

https://www.philadelphiavotes.com/en/election-board-officials/current-election-board-officials

(last visited Nov. 14, 2017). For reasons best known to themselves, Plaintiffs failed to do so. See

also Part III.E, Sec’y Br. at 22-23 (Little ECF No. 11) (absent court order binding against district

election officials, the same individuals will remain in office and return to serve in future

elections. 8)



Plaintiffs invoke the precedent of Max v. Republican Comm. of Lancaster Cnty., 587 F.3d 198 (3d
Cir. 2009). In that case, the county committee was found not to be a state actor for the purposes
of a § 1983 action. Max, 587 F.3d at 200 (“[S]tate action may be imputed to private groups who
carry out functions that are ‘governmental in nature.’”) (citing Evans v. Newton, 382 U.S. 296, 299
(1966). Private political parties and their officials observing election day proceedings to defend
the interests of their favored candidates is an avowedly partisan act and hardly approaches any
function which is “governmental in nature.” And the Little Plaintiffs ascribe altogether too much
significance to the filing of committee bylaws with the Secretary and the county board of
elections—the purpose of which is to inform the government entities who is authorized by the
party to make and certify nominations for special elections and vacancies. Their position—that
filing governing documents with a governmental authority converts that entity into a governmental
unit itself—would make a state actor of every corporation, limited liability company, and other
business association which files its articles of incorporation with the Secretary, 15 Pa.C.S.
§ 1308(a), and is contrary to law. Crissman v. Dover Downs Entm’t Inc., 289 F.3d 231, 243 (3d
Cir. 2002) (“regulation—even detailed regulation, as we have here—does not equate to state
action;” citing Supreme Court precedent that “a heavily regulated utility company was not a state
actor”).

The Election Code is replete with acknowledgements of the unique role political parties play in
elections, yet does not contemplate that they will have any role that would make them into “state
actors.” Rather, parties carry out their campaign activities alongside one another, with one private
group able to monitor and counteract any excesses of another. Interposing the federal judiciary
between political parties to monitor and correct Election Day controversies represents a significant
departure from the balance envisioned by the Election Code.
8
  The Secretary is aware of the four district election officials against whom criminal charges
relating to the March 21, 2017, special election were filed. Press Release, Office of Attorney
                                                 7
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       Plaintiffs’ stated goal is to obtain a rerun of the March 21, 2017, special election, under

conditions they deem to be “fair.” It is curious, then, that the officials charged with the hands-on

administration of that election (and who would be in the best position to permit or ward off the

irregularities described in the complaints) are not named. To the extent Plaintiffs’ goal is actually

to secure the removal, replacement, or supervision of these officials in the performance of their

duties in the future, their omission as defendants is hard to fathom.

       C.      Plaintiffs misstate the law and the scope of the Secretary’s powers under the
               Pennsylvania Constitution and Election Code.

       The Little Plaintiffs, arguing in their Supplemental Brief, continue to misapprehend the

allocation of responsibilities among the various entities under the state constitution and Election

Code. They summarily conclude that the eleven subsections in 25 P.S. § 2621 distill to this: “[i]n

essence, these duties require [the Secretary] to work closely with the County Board to supervise.”

Honkala Supp. Br. at 8 (Little ECF No. 34). As the Secretary previously argued, the state

constitution provides for the exclusive means to remove these officers—impeachment and “direct

address.” Pa. Const. art. VI, §§ 6, 7; see Part III.A, Sec’y Br. at 11-12 (Little ECF No. 11).

       Inexplicably, the Little plaintiffs submitted two briefs which failed to meaningfully engage

with the substance of the arguments presented by the Secretary. Br. in Opp’n of the Pls., Cheri

Honkala, the Green Party of Pa., Republican City Comm. of Phila. and Lucinda Little, to the Mot.



General, Attorney General Josh Shapiro Announces Criminal Charges for Interference in Special
Election    in    197th    Legislative    District    (Oct.     30,    2017),     available    at
https://www.attorneygeneral.gov/Media_and_Resources/Press_Releases/Press_Release/?pid=410
4. The mere filing of charges does not oust these officers from their positions, nor does it have
any effect whatsoever on the dozens of other officials serving throughout the 197th Legislative
District.

Indeed, just as the Attorney General has concluded that district election officials should be held
responsible for their alleged interference in the special election, those same district election
officials are the appropriate defendants in this action, and not the Secretary.
                                                 8
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to Dismiss Filed by Defs., Pedro Cortés, Sec’y of the Commw., and the Dep’t of State, Bureau of

Commissions, Elections and Legislation, Little v. Vazquez, No. 17-1562 (E.D. Pa. July 19, 2017)

(ECF No. 24); Honkala Supp. Br (Little ECF No. 34).

          The Acosta plaintiffs’ responses to the Secretary’s brief of June 19, 2017, similarly fail to

grapple with the applicable legal standards. Answer of Pls., Edward Lloyd and Orlando Acosta,

to the Mot. to Dismiss of Def., Emilio Vazquez, Acosta v. Vazquez, No. 17-1462 (E.D. Pa. July

20, 2017) (ECF No. 43); Pls.’ Mem. Of Law in Opp’n to Defs.’ Emilio Vazquez and Phila. City

Dem. Comm. Mot. to Dismiss the [Second] Am. Compl., Acosta v. Vazquez, No. 17-1462 (E.D.

Pa. July 20, 2017) (ECF No. 44); Answer to Defs.[‘] 2nd Requested Mot. of Dismissal, Acosta v.

Vazquez, No. 17-1462 (E.D. Pa. Aug. 4, 2017) (ECF No. 51). 9

          The Plaintiffs seek to dismiss these substantive arguments with nonspecific appeals to

“fairness.” The Secretary trusts that the Court has read and understood all of Defendants’ filings

in these cases, including Part III of the Secretary’s previously-submitted Brief of June 19, 2017;

based on their subsequent responses, Plaintiffs surely have not.

    IV.      Conclusion

          Plaintiffs have compiled an array of allegations, and invoke some of the most hallowed

provisions in American law. Yet their complaints must still be scrutinized in accord with the

strictures of Supreme Court precedent—and alas, the complaints fall short of those standards.

Especially where the remedy sought is so dramatic—the invalidation of a state election through

the intervention of the federal judiciary—Plaintiffs must provide more than the conclusory




9
  The Secretary’s Reply Brief discusses in greater detail the deficiencies in the Acosta Plaintiffs’
arguments. See Reply Br. of Sec’y Cortés and Dep’t of State, Bureau of Commissions, Elections
and Legislation in Supp. of Mot. to Dismiss Pls.’ Second Am. Compl., Acosta v. Democratic City
Comm., No. 17-1462 (E.D. Pa. July 27, 2017) (ECF No. 45).
                                                   9
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allegations included in the complaints here. Plaintiffs have further misstated the law and failed to

engage with the Secretary’s arguments; among their other failings, they have thus failed to state

any claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6).

       WHEREFORE, Acting Secretary of the Commonwealth Robert Torres and the Department

of State, Bureau of Commissions, Elections and Legislation, respectfully request this Honorable

Court grant the motion to dismiss.

                                                     Respectfully submitted,

                                                     /s/ Kathleen M. Kotula
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                                                     Counsel for Defendants, Robert Torres,
                                                     Acting Secretary of the Commonwealth, and
                                                     Department of State Bureau of
                                                     Commissions, Elections and Legislation

Dated: November 20, 2017




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                       IN THE UNITED STATES DISTRICT COURT
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 LUCINDA LITTLE, et al.,
                               Plaintiffs,

                         v.
                                                                      2:17-CV-1562
 EMILIO VASQUEZ, et al.,
                               Defendants.


                                CERTIFICATE OF SERVICE

       I certify that on November 20, 2017, I caused the foregoing Supplemental Brief of

Defendants Acting Secretary of the Commonwealth Robert Torres and the Department of State,

Bureau of Commissions, Elections and Legislation in Support of the Motion to Dismiss, to be filed

with the United States District Court for the Eastern District of Pennsylvania via the Court’s

CM/ECF system, which will provide electronic notice to all counsel and parties of record. In

addition, I have caused this Supplemental Brief to be served by First Class Mail, postage prepaid,

on the following:

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       Philadelphia, PA 19133
       Tel: (267) 414-8774
       OrlandoAcosta688@gmail.com
       Plaintiff
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Leslie Acosta
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Defendant

                                  /s/ Kathleen M. Kotula
                                  Kathleen M. Kotula




                              2
